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                                                                                                       United States District Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                            April 25, 2023
                             UNITED STATES DISTRICT COURT
                                                                                                         Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TEXAS TAMALE COMPANY, INC.,                                 §
     Plaintiff,                                             §
                                                            §
v.                                                          § CIVIL ACTION NO. 4:21-cv-3341
                                                            §
CPUSA2, LLC,                                                §
D/B/A TEXAS LONE STAR TAMALES                               §
      Defendant.                                            §


                                  SUMMARY JUDGMENT ORDER

          Pending before the Court in this trademark infringement case is Plaintiff’s

Motion for Summary Judgment. ECF 40.1 Defendant did not file a timely response

as required by the Local Rules of the Southern District of Texas 7.3 and 7.4. The

Court conducted a hearing on the record in open court on April 25, 2023, at which

counsel for Defendant appeared and argued, but the Court did not permit the late

introduction of evidence that was not in the record. Having considered Plaintiff’s

Motion, the evidence in the record, argument of counsel at the hearing, and the

applicable law, the Court orders Plaintiff’s Motion be GRANTED.

     I.   Factual and Procedural Background

          The facts set forth herein are supported by Plaintiff’s evidence and are




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  The parties consented to the jurisdiction of the undersigned magistrate judge for all purposes including entry of
final judgment. ECF 27.
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    undisputed. See Safeco Insurance Co. of America v. Progressive Cty. Mut. Ins.

    Co., No. 4:21-CV-03297, 2022 WL 2818751, at *1 (S.D. Tex. July 19, 2022)

    (citing Morgan v. Federal Express Corp, 114 F. Supp. 3d 434, 437 (S.D. Tex.

    2015) and Eversley v. MBank of Dallas, 843 F.2d 172, 174 (5th Cir. 1988)

    (holding that although it is not appropriate to grant a Motion for Summary

    Judgment based on the non-movant’s failure to respond, the Court may consider

    the movant’s statement of facts to be undisputed.).2

          Plaintiff has used the trademarks “TEXAS TAMALE” and “TEXAS

    TAMALE COMPANY” (the Marks) since approximately 1985 in connection

    with the sale of Mexican-style food products and services in retail stores and on

    its website www.texastamale.com. ECF 40-12 ¶ 3. Plaintiff registered the Marks

    with the United States Patent Office in 2006. Id. ¶ 4; ECF 40-1.



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  Plaintiff has also submitted evidence in the form of deemed admissions because Defendant did
not serve timely responses to Plaintiff’s Requests for Admissions. ECF 40-6. Under Federal Rule
of Civil Procedure 36(a)(3), Plaintiff’s Requests were deemed admitted 30 days after service.
Although Defendant eventually filed responses 111 days after service, a matter admitted “is
conclusively established under the court on motion, permits the admission to be withdrawn of
amended.” FED. R. CIV. P. 36(b). Defendant has not moved to withdraw its admissions.
Therefore, Defendant has admitted that Plaintiff owns the registered Marks, that it has used the
registered marks, and that it has received inquiries from consumers that reflect confusion as to the
association between Plaintiff’s products and Defendant’s products. ECF 40-6. Defendant’s
admissions provide further evidence in support of Plaintiff’s Motion for Summary Judgment. See
Poon-Atkins v. Sappington, No. 21-60467, 2022 WL 102042, at *1 (5th Cir. Jan. 10, 2022)
(holding that Rule 36 “unambiguously” requires dismissal on summary judgment when party
failed to respond to requests for admissions).

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      In late 2014, Plaintiff became aware that Defendant CPUSA2, LLC d/b/a

Texas Lone Star Tamales was using the mark “THE TEXAS TAMALE

WAREHOUSE” in connection with the online sales of tamales. ECF 40-12, ¶5;

ECF 40-2. After Plaintiff initiated enforcement efforts, Defendant changed its

name from “THE TEXAS TAMALE WAREHOUSE” to “TEXAS LONE STAR

TAMALES.” ECF 40-2 at 13. Nonetheless, in 2020, Plaintiff became aware that

Defendant was using Plaintiff’s Marks in online tamale advertisements and in

Google AdWords, which placed Defendant’s products above Plaintiff’s products

in search results for the phrase “Texas Tamale.” ECF 40-12, ¶ 6; ECF 40-3.

Plaintiff contacted Defendant in May 2020, January 2021, and August 2021 to

demand that Defendant cease and desist use of “TEXAS TAMALE” or any similar

mark. ECF 40-8; ECF40-9; ECF 40-10. Defendant did not respond to Plaintiff’s

cease and desist requests or stop using “TEXAS TAMALE” in its marketing. See

ECF 40-3; 40-4.

      On October 12, 2021, Plaintiff filed a Complaint asserting claims against

Defendant for (1) trademark infringement under the Lanham Act, 15 U.S.C. § 114

and Texas common law; (2) unfair competition under the Lanham Act, 15 U.S.C.

§ 1125(a) and Texas common law; and (3) a permanent injunction prohibiting

Defendant from “(i) making further use of the designation “TEXAS TAMALE”

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or “TEXAS TAMALES” in connection with buying keyword ads in connection

with any internet search engine, and (ii) using the TEXAS TAMALE Mark in ad

copy or other marketing materials that may be viewed by consumer[s].” ECF 1 at

7-8.

       On February 15, 2022, the Clerk entered Default due to Defendant’s failure

to respond to the Complaint. ECF 19. The Court subsequently vacated the entry

of default on Defendant’s motion, ECF 31, but denied Defendant’s Motion to

Dismiss. ECF 34. On November 13, 2022, Defendant finally filed an Answer to

the Complaint and asserted counterclaims for declaratory judgment of non-

infringement and for cancellation of registration of Plaintiff’s Marks on grounds

that they are generic and descriptive without secondary meaning and, therefore,

invalid. ECF 35.

       On March 6, 2023, Plaintiff filed a Motion for Summary Judgment,

supported by evidence, seeking summary judgment that: “(i) Defendant has

infringed Plaintiff’s Marks in violation of 15 U.S.C. § 1114(1); (ii) Defendant has

infringed Plaintiff’s Marks in violation of Texas common law; (iii) Defendant’s

counterclaim for a declaration of non-infringement (Counterclaim Count I) fails

as a matter of law; and (iv) Defendant’s counterclaim for cancellation of Plaintiff’s

Marks fails as a matter of law (Counterclaim Count II).” ECF 40 at 2. As noted

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above, Defendant did not file a timely response.

   II. Summary Judgment Standards

       Summary judgment is appropriate if no genuine issues of material fact exist,

and the moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a).

The party moving for summary judgment has the initial burden to prove there are no

genuine issues of material fact for trial. Provident Life & Accident Ins. Co. v. Goel,

274 F.3d 984, 991 (5th Cir. 2001). If the party moving for summary judgment bears

the burden of proof on an issue, the movant must “establish beyond peradventure all

of the essential elements of the claim or defense to warrant judgment in [its] favor.”

Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986). The court construes

the evidence in the light most favorable to the nonmoving party and draws all

reasonable inferences in that party’s favor. R.L. Inv. Prop., LLC v. Hamm, 715 F.3d

145, 149 (5th Cir. 2013). In ruling on a motion for summary judgment the Court does

not “weigh evidence, assess credibility, or determine the most reasonable inference to

be drawn from the evidence.” Honore v. Douglas, 833 F.2d 565, 567 (5th Cir. 1987).

However, “[c]onclu[sory] allegations and denials, speculation, improbable inferences,

unsubstantiated assertions, and legalistic argumentation do not adequately substitute

for specific facts showing a genuine issue for trial.” U.S. ex rel. Farmer v. City of

Houston, 523 F.3d 333, 337 (5th Cir. 2008) (citation omitted).

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  III. Analysis

     A. Trademark Infringement

        1. Legal Standards

     Plaintiff alleges trademark infringement under both the Lanham Act, 15

U.S.C. § 1114, and Texas common law. ECF 1 at ¶ 26. Because the issues in a

trademark infringement claim are the same under Texas common law and the

Lanham Act, the Court will analyze the motion to dismiss both claims under the

Lanham Act standards. All Am. Builders, Inc. v. All Am. Sliding of Dallas, Inc., 991

S.W.2d 484, 488 (Tex. App.—Fort Worth 1999, no pet.) (“The issues in a common

law trademark infringement action under Texas law are no different than those

under federal trademark law.”). To state a claim for trademark infringement, a

plaintiff must show (i) that it possesses a legally protectable mark, and (ii) that

defendant’s use of the trademark creates a likelihood of customer confusion as to

source, affiliation, or sponsorship. Jones v. Am. Council on Exercise, 245 F. Supp.

3d 853, 859 (S.D. Tex. 2017).

        2. Plaintiff’s Marks are legally protectable.

     A legally protectable mark “must be distinctive, either inherently or by

achieving secondary meaning in the mind of the public.” Am. Rice, Inc. v.

Producers Rice Mill, Inc., 518 F.3d 321, 329 (5th Cir. 2008). Registration with the

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PTO is prima facie evidence of protectability. T-Mobile US, Inc. v. AIO Wireless

LLC, 991 F. Supp. 2d 888, 909 (S.D. Tex. 2014); Amazing Spaces, Inc. v. Metro

Mini Storage, 608 F.3d 225, 237 (5th Cir. 2010) (“Registration of a mark with the

PTO constitutes prima facie evidence of the mark’s validity and the registrant’s

exclusive right to use the registered mark in commerce with respect to the specified

goods or services.”). A word mark, such as “TEXAS TAMALE COMPANY” and

“TEXAS TAMALE,” that is registered under 15 U.S.C. § 1052(f) carries a

presumption that the mark has acquired secondary meaning. Alliance for Good

Gov't v. Coal. for Better Gov't, 901 F.3d 498, 508 (5th Cir. 2018) (noting that § 2(f)

of the Lanham Act allows registration based on evidence that the mark has “become

distinctive” and therefore the “presumption of validity that attaches to a § 2(f)

registration includes a presumption that the registered mark has acquired

distinctiveness, or secondary meaning, at the time of its registration.”). Moreover,

the Lanham Act provides a mechanism for a registered mark to become

incontestable if it has been in continuous use for at least 5 consecutive years. 15

U.S.C. § 1065; See American Rice, Inc., 518 F.3d at 331 n.29 (citing Park 'N Fly,

Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 201 (1985)). An incontestable mark

carries an even greater presumption and may not be challenged on grounds that it

is merely descriptive. Park ‘N Fly, Inc., 518 F.3d. at 196-97, 205; Gibson Brands,

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    Inc. v. Armadillo Dist. Enter., Inc. et al, No. 4:19-CV-00358, 2023 WL 2815156,

    at *7 (E.D. Tex. Apr. 6, 2023) (holding that an action for infringement of an

    incontestable mark may only be defended on one of the grounds set forth in 15

    U.S.C. § 1115(b), such as fraud or abandonment).

         The uncontested evidence shows that Plaintiff possesses the registered

    trademarks “TEXAS TAMALE” and “TEXAS TAMALE COMPANY” for use in

    connection with the sale of Mexican-style food products and services, including but

    not limited to tamales.3 ECF 40 at 2-3; ECF 40-1 at 1-3; ECF 40-12. Plaintiff has

    used the Marks continually since 1985 and obtained registration under § 2(f) of the

    Lanham Act in 2006. Id. Plaintiff represents that the Marks have been in

    continuous use in commerce for over 5 years since registration and have attained

    incontestable status under 15 U.S.C. § 1065. ECF 40 at 12; ECF 40-2 at 2; ECF

    40-12.

         In this case, Defendant denied the protectability of the Marks in its affirmative

    defenses and counterclaims. ECF 35. However, Defendant has not come forward

    with any evidence to overcome the presumption of validity that Plaintiff has

    established protects its Marks. Therefore, Plaintiff has met its burden on the first


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 Plaintiff also owns a registered trademark for “TEXAS TAMALE COMPANY” accompanied
by a design element depicting an image of a food cart in the shape of a jalapeno pepper with an
umbrella, but there is no contention that Defendant has used the image.

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element of its trademark infringement claim.

         3. Defendant’s use of Plaintiff’s Marks has caused consumer
            confusion.

     To determine the likelihood of confusion, courts evaluate the following

“digits” of confusion: (1) the strength of the plaintiff's trademark, (2) mark

similarity, (3) product similarity, (4) outlet and purchaser identity, (5) advertising

media similarity, (6) defendant's intent, (7) actual confusion, and (8) care exercised

by potential purchasers. Am. Rice, Inc., 518 F.3d at 329. “The absence or presence

of any one factor ordinarily is not dispositive; indeed a finding of likelihood of

confusion need not be supported by a majority of the . . . factors.” Id. (citation

omitted). The plaintiff’s trademark and the mark used by the defendant do not need

to be identical, but similar enough that a reasonable person could believe the two

products have a common origin or association.” Xtreme Lashes, LLC v. Xtended

Beauty, Inc., 576 F.3d 221 (5th Cir. 2009); Streamline Prod. Sys., Inc. v. Streamline

Mfg., Inc., 851 F.3d 440, 454 (5th Cir. 2017)).

     In this case, the “digits” of confusion lead to the conclusion as a matter of law

that Defendant’s use of the phrase “Texas Tamales” is likely to cause consumer

confusion. The phrase “Texas Tamales,” used by Defendant online, is almost

identical to the registered Marks owned by Plaintiff. Defendant is using the mark


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in connection with the sale of the same types of products as Plaintiff. Defendant

has fomented consumer confusion by paying for prominent placement in search

results for consumers searching for “Texas Tamale” and “Texas Tamales,” as well

as by using the phrase “Texas Tamales” in online advertisements. ECF 40-3; 40-4.

There is no question that Defendant is aware of Plaintiff’s Marks and the likelihood

of confusion and has been since Plaintiff’s 2014 enforcement actions that led

Defendant to change its company name.

     Moreover, Plaintiff has presented evidence that Defendant has sold its

products to consumers who think they are buying Plaintiff’s products. See ECF 40-

5 (screen shots of messages from consumers mistaking having ordered from Texas

Tamale Company instead of Defendant using the name Texas Tamales); ECF 40-

12, ¶ 6. “[A]ctual confusion—constitutes the ‘best evidence of a likelihood of

confusion.’” Future Proof Brands, L.L.C. v. Molson Coors Beverage Co., 982 F.3d

280, 289 (5th Cir. 2020). Plaintiff has met its burden to establish the second element

of its trademark infringement action, likelihood of confusion, as a matter of law.

     B. Unfair Competition

          1. Legal Standards

     Plaintiff asserts claims for unfair competition under the Lanham Act, 15

U.S.C. § 1125(a) and Texas common law. ECF 1 at ¶ 28. Under Texas law, “unfair

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competition” is “the umbrella for all statutory and non[-]statutory causes of action

arising out of business conduct which is contrary to honest practice in industrial or

commercial matters.” Boltex Mfg. Co., L.P. v. Ulma Piping USA Corp., 389 F.

Supp. 3d 507, 519 (S.D. Tex. 2019) (quoting Taylor Pub. Co. v. Jostens, Inc., 216

F.3d 465, 486 (5th Cir. 2000)). Trademark infringement is deemed one such type

of tort or illegal conduct. Baylor Scott & White v. Project Rose MSO, LLC, 633

S.W.3d 263, 287 (Tex. App.—Tyler 2021, pet. denied) (citing U.S. Sporting Prods.,

Inc. v. Johnny Stewart Game Calls, Inc., 865 S.W.2d 214, (Tex. App.—Waco 1993,

writ denied). Plaintiff’s claims for unfair competition are governed by the same

“likelihood of confusion” standard that governs its trademark infringement claims

under the Lanham Act and Texas law. Scott Fetzer Co. v. House of Vacuums Inc.,

381 F.3d 477, 484 (5th Cir. 2004). Accordingly, a court’s analysis of claims giving

rise to trademark infringement may be dispositive of corresponding claims for

unfair competition. See Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225,

236 n.7 (5th Cir. 2010) (“A trademark infringement and unfair competition action

under Texas common law presents essentially ‘no difference in issues than those

under federal trademark infringement actions.’”) (citation omitted); Stockdale Inv.

Grp. Inc. v. Stockdale Cap. Partners, LLC, No. 4:18-CV-2949, 2019 WL 5191526,

at *2 n.2 (S.D. Tex. Oct. 15, 2019) (stating that “the same legal test applies” to

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claims for federal trademark infringement and unfair competition under Texas

common law) (citation omitted).

         2. Plaintiff is Entitled Summary Judgment on its Unfair Competition
            Claim as a Matter of Law.

     In the Fifth Circuit, a court’s analysis of claims giving rise to trademark

infringement may be dispositive of corresponding claims for unfair competition.

See Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225, 236 n.7 (5th Cir.

2010) (stating “[a] trademark infringement and unfair competition action under

Texas common law presents essentially ‘no difference in issues than those under

federal trademark infringement actions.’”) (citation omitted); Stockdale Inv. Grp.

Inc. v. Stockdale Cap. Partners, LLC, No. 4:18-CV-2949, 2019 WL 5191526, at *2

n.2 (S.D. Tex. Oct. 15, 2019) (stating that “the same legal test applies” to claims

for federal trademark infringement and unfair competition under Texas common

law) (citation omitted). In this case, Plaintiff’s unfair competition claim is based

on the same facts and evidence as its Lanham Act and common law trademark

infringement claims. Therefore, summary judgment is appropriate as to the

Plaintiff’s unfair competition claim.

     C. Defendant’s Counterclaims

     Defendant has asserted counterclaims for a declaration of non-infringement


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and for cancellation of Plaintiff’s Marks. Having concluded that Plaintiff is entitled

to judgment in its favor on its trademark infringement claims as a matter of law

because Defendant has no evidence to overcome the presumption that Plaintiff’s

Marks are legally protectable or to counter Plaintiff’s evidence of likelihood of

confusion, Plaintiff is also entitled to summary judgment dismissing Defendant’s

counterclaims.

  IV.    Conclusion and Order

     For the reasons discussed above, Plaintiff’s Motion for Summary Judgment

on Defendant’s liability for trademark infringement and unfair competition and on

Defendant’s counterclaims for non-infringement and cancellation is GRANTED.

The issues of injunctive relief, damages, and attorney’s fees remain pending.



Signed on April 25, 2023, at Houston, Texas.



                                                         Christina A. Bryan
                                                    United States Magistrate Judge




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